Case 0:12-cv-60187-JIC Document 8 Entered on FLSD Docket 03/27/2012 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 12-60187-CIV-COHN/SELTZER

 CATHI A. GUIDARA,

              Plaintiff,

 vs.

 NCO FINANCIAL SYSTEMS, INC.,

            Defendant.
 _______________________________________/

                     ORDER DISMISSING CASE WITH PREJUDICE

       THIS CAUSE is before the Court upon the parties' Joint Stipulation For Dismissal

 With Prejudice [DE 7] (“Stipulation”). The Court has carefully reviewed the Stipulation,

 the record in the case, and is otherwise fully advised in the premises.

       Accordingly, it is ORDERED AND ADJUDGED that this matter is DISMISSED

 WITH PREJUDICE. Each party shall bear its own fees and costs, except as otherwise

 agreed by the parties. The Clerk shall CLOSE this case and DENY all pending motions

 as MOOT.

       DONE AND ORDERED in Chambers in Fort Lauderdale, Broward County,

 Florida this 27th day of March, 2012.




 Copies provided to counsel of record via CM/ECF.
